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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES -- GENERAL


Case No.    CV 14-09821 DDP (SSx)                                Dated: August 13, 2015

Title:    CANDY GARCIA -v- WELLS FARGO BANK, N.A., CAL-WESTERN
          RECONVEYANCE, LLC
==========================================================================
PRESENT: HONORABLE DEAN D. PREGERSON, JUDGE

            John A. Chambers                              None Present
            Courtroom Deputy                              Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS:           ATTORNEYS PRESENT FOR DEFENDANTS:

            None                                   None

PROCEEDINGS:           MINUTE ORDER (IN CHAMBERS)


     COUNSEL ARE NOTIFIED that on the Court's own motion the MOTION TO
DISMISS CASE SECOND AMENDED COMPLAINT (DOCKET NUMBER 23) set for
August 17, 2015 at 10:00 a.m., is hereby taken off calendar, the hearing date
vacated and will be decided without oral argument.




MINUTES FORM 11                                              Initials of Deputy Clerk: JAC
CIVIL -- GEN
